

People ex rel. McCloud v Dzurenda (2021 NY Slip Op 02170)





People ex rel. McCloud v Dzurenda


2021 NY Slip Op 02170


Decided on April 7, 2021


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 7, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

SYLVIA O. HINDS-RADIX, J.P.
HECTOR D. LASALLE
BETSY BARROS
FRANCESCA E. CONNOLLY, JJ.


2021-00900

[*1]The People of the State of New York, ex rel. Phillip McCloud, petitioner, 
vJames Dzurenda, etc., et al., respondents.


Phillip McCloud, East Meadow, NY, petitioner pro se.
Madeline Singas, District Attorney, Mineola, NY (Kelly Gans pro se of counsel), respondent pro se and for respondents.



DECISION &amp; ORDER
Application by the petitioner for a writ of habeas corpus and for poor person relief.
Upon the papers filed in support of the application and the papers filed in opposition thereto, it is
ORDERED that the branch of the application which is for poor person relief is granted to the extent that the filing fee imposed by CPLR 8022(b) is waived, and that branch of the application is otherwise denied as academic; and it is further,
ORDERED that the branch of the application which is for a writ of habeas corpus is denied.
HINDS-RADIX, J.P., LASALLE, BARROS and CONNOLLY, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








